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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND                                  APR 292013

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UNITED STATES OF AMERICA                              *
       v.                                             *        Case No. 13-po-02854

IGOR DANCHENKO                                    *

                                           *********
                                               ORDER

        Having reviewed the request of the Defendant, Igor Danchenko, to travel outside of the

United States, from May 20,2013, through June 9, 2013, for work purposes, it is hereby ORDERED

by the United States District Court for the District of Maryland that Mr. Danchenko be permitted to

travel as requested. Mr. Danchenko is directed to provide his Pretrial Services Officer with his travel

itinerary and contact information where he may be reached during his travel. It is further ordered

that, in order to accommodate the requested travel, the current trial date of May 23, 2013, be

continued to June 20, 2013, at 8:30 a.m. All other terms and conditions shall remain in effect.




                                               THOMAS M. DIGIROLAMO
                                               United States Magistrate Judge

cc:   AFPD Susan Bauer
      AU SA Jane Nathan
      PTSO Sharnell Howell
